                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE

JOHNISHA PROVOST,
Individually, Natural Guardian and Next
Friend of M. R.H., a minor,
and LAKESHA MACKLIN, Individually,
Natural Guardian and
Next Friend of R. J. M., a minor
And K. D. H., a minor,
as a wrongful death beneficiaries
of RODNEY HESS
 (deceased),
PLAINTIFFS,



                                           1:17-cv-01060-STA-egb
v.

CROCKETT COUNTY,
TENNESSEE, and
CAPTAIN JORDAN
SPRAGGINS,

DEFENDANTS


        MEMORANDUM IN SUPPORT RESPONSE TO MOTION FOR SUMMARY
                          JUDGMENT

       I.      INTRODUCTION

       This civil action arises out of the wrongful death of Rodney Hess at the hands of

Captain Jordan Spraggins of the Crockett County, Tennessee Sheriff’s department.

Spraggins actions constitute a violation of Hess’ constitutional rights to free of

objectively unreasonable deadly force and this right was clearly established prior to

March 16, 2017.     Thus, Spraggins is not entitled to qualified immunity and his motion




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for summary judgment must fail.          Moreover, Sheriff Troy Klyce ratified Spraggins

actions and rendered the municipality liable to the Plaintiffs consistent with Monell1.

        II.       RELEVANT FACTS

        The relevant material facts are set forth in the contemporaneous response to

Defendants’ statement of undisputed material facts, motion to strike, and motion in

limine or to exclude [DE 52] and are incorporated herein by reference.

       III. ANALYSIS

        1. The Sixth Circuit Summary Judgment Standard

              In Tolan v. Cotton, 134 S.Ct. 1861, 1865-68 (2014), the Court held

at the summary judgment stage, all evidence 2 is reviewed in the light most favorable to

the non-movant and all factual inferences are drawn in favor of the non-moving party.

A court misapprehends summary judgment standards when it attempts to credit or weigh

testimony or other evidence in favor of the movant.      Tolan, 1867-68. In Latits v.

Phillips, 878 F.3d 541, 552 (6th Cir. 2017), the Sixth Circuit held that it reviews the

videotape(s) and when the video(s) is lacking or subject to interpretation accepts the

nonmoving party’s version at the summary judgment stage.          The district court must

deny the summary judgment motion if Plaintiff shows a genuine issue of material fact

exists that (1) the defendant violated a constitutional right and (2) that right was clearly

established. Quigleymv. Tuong Vinh Thai, 707 F.3d 675, 680-681 (6th Cir. 2013). at 680.

Specifically, the district court must deny the summary judgment motion if the plaintiff’s

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  Monell v. Department of Social Services, 436 US 658 (1978). Plaintiffs will not contest that
Sheriff Klyce, in his individual capacity, is entitled to summary judgment.
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  .In Brainard v. American Akandia Life Assurance Corp. 432 F.3d 655, 667-668 (6th Cir. 2005),
the Sixth Circuit articulated the standard currently codified at Rule 56(c) that all motions for
summary judgment must set forth facts that would be admissible into evidence. A motion to
strike should be granted for inadmissible material supporting a summary judgment motion and
should be ruled upon before proceeding to consider a summary judgment motion. Id. at 667.


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evidence creates an issue of material fact that the plaintiff’s evidence would reasonably

support a jury’s finding that the defendant violated a clearly established right.

McDonald v. Flake, 814 F.3d 804, 812 (6th Cir. 2016). The Defendant is only entitled to

a grant of summary judgment is he, she, or it can show that there are no issues of material

fact and he, she or it is entitled to judgment as a matter of law.   Tolan, 1865-1866.

       2.               Jordan Spraggins is not entitled to qualified immunity.

       In Smith v. Cupp, 430 F.3d 766, 773-77 (6th Cir. 2005), the Sixth Circuit held

under strikingly similar circumstances that an officer’s use of deadly force is objectively

unreasonable when he fires on driver while positioned to the driver’s side of his vehicle.

This holding applies with equal force when a fellow officer is positioned on the side of

the vehicle.   Id.   In Sigley v. Pharma Heights, 437 F.3d 527, 533-37 (6th Cir. 2006), the

Sixth Circuit held under strikingly similar circumstances that an officer’s use of deadly

force is objectively unreasonable when he fires on a driver while positioned behind the

driver’s vehicle. In Hermiz v. City of Southfield, 484 Fed. Appx. 13, 15-17 (6th Circ.

2012), the Sixth Circuit held under strikingly similar circumstances that an officers’ use

of deadly force is objectively unreasonable when he fires on a driver while positioned to

the side of the vehicle. In Godawa v. Byrd, 798 F.3d 457, 466-68 (6th Cir. 2015), the

Sixth Circuit held under strikingly similar circumstances that an officer’s use of deadly

force is objectively unreasonable when fires on a driver while positioned on the rear

passenger side. Godawa also established that Cupp established controlling precedent in

the Sixth Circuit that an officers utilization of deadly force when positioned to the side of

the vehicle is objectively unreasonable. Id. In Latits v. Phillips, 878 F.3d 541, 552 (6th

Cir. 2017), the Sixth Circuit held that it reviews the videotape and when the video is




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lacking or subject to interpretation accepts the nonmoving party’s version at the summary

judgment stage.      The Court held that Sigley and Cupp were controlling authority, Id. at

n. 8, for a driver who was initiating flight.     Id. at 553. Thus, the Sixth Circuit has held

that driver who may have been initiating flight has a clearly established right to be free of

objectively unreasonable deadly force when the officer is positioned to the side of his

vehicle pursuant to the foregoing authority 3.        Moreover, this right was clearly

established no later than 2005 when the Cupp decision was issued. Lattis, n.8.

        Applying the foregoing authority, Spraggins is not entitled to qualified immunity.

Spraggins and Irvin were positioned to the driver’s side of Hess’ vehicle. Irvin’s dash

camera video, Irvin’s body camera video, Towater’s dash camera video, and Hess’ cell

phone video 4 and the testimony of Jim Knox, Jordan Spraggins, Neal Towater, and

Jimmy Irvin5.     Moreover, Jordan Spraggins did not begin shooting until Hess was already

headed toward Maury City and Irvin was not in any danger.             Thus, Spraggins use of

deadly force against Hess was objectively unreasonable as a matter of law.



        3.    Sheriff Troy Klyce ratified Jordan Spraggins conduct.

        In Burgess v. Fischer, 735 F.3d 462, 478 (6th Cir. 2013), the Sixth Circuit




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  The Defendants’ reliance upon Kinsela is misplaced. The Kinsela Court found that Ninth
Circuit precedent was not clearly established that the plaintiff had a right to be free of excessive
force while wielding a knife and threatening a bystander on foot. The Kinsela Court found that
the facts must be similar to determine if a right is clearly established by prior Circuit precedent.
Obviously a suspect approaching a bystander with a knife is factually distinguishable from a
driver leaving the scene when the officer is positioned to the side of his vehicle. Thus, Kinsela
has no application to the facts at bar. Moreover, there is well-settled Sixth Circuit precedent
involving almost identical facts in the form of Hermiz and Cupp.
4
  DE 51.
5
  DE 47-1, 47-3, 47-6 and 47-8.


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held that the municipality is liable consistent with Monell when an official with final

policy making authority ratifies an illegal action.

       Applying the foregoing authority, Crockett County, Tennessee is liable pursuant

to §1983 for the application of objectively unreasonable excessive force that caused the

death of Rodney Hess.     Klyce is the final law enforcement policy maker for Crockett

County, Tennessee. Klyce ratified Spraggins actions. Irvin body camera video, DE 51.

Thus, Crockett County is liable to the Plaintiffs consistent with Monell.

       4.      Hess suffered conscious pain and suffering before he died.

       In Alexander v. Beale Street Blues Co. Inc. et al, 108 F.Supp. 2d 934, 952 (W.D.

Tenn. 1999) and Robinson v. City of Memphis, 340 F.Supp. 2d 864, 872 (W.D. Tenn.

2004), this Court applied Sixth Circuit precedent to find that damages are limited to

the personal damages that the shooting victim has experienced. The survivors are not

entitled to recover damages for their losses. Id.

       Hess screamed in pain when Spraggins shot him. Hess cell phone

video. DE 51. DE 47-8, Page ID 791. Hess remained in pain and was moaning and

remained in pain while Knox and other EMTs were rendering aid to Hess. DE 47-1,

Page ID 352-353.

       IV. CONCLUSION

   The Court should deny Jordan Spraggins motion for summary judgment on the

grounds of qualified immunity and Crockett County, Tennessee’s motion for summary

judgment because it incurred Monell liability when Sheriff Klyce ratified Spraggins

actions.

                                       Respectfully submitted,




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                                   /S/DRAYTON D. BERKLEY
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                             CERTIFICATE OF SERVICE

      I, Drayton D. Berkley, do hereby certify that I have this day hand-delivered, or

served by e-mail, a true and correct copy of the above and foregoing document to:

Mr. Jon A. York
Pentecost, Glenn, Maudlin & York
106 Stonebridge Blvd
Jackson, TN 38305

      This the 6th day of June 2018.



                                          /s/Drayton D. Berkley
                                          DRAYTON D. BERKLEY, ESQ.




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